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   TECHNOLOGIES LIMITED and Q CYBER
 7 TECHNOLOGIES LIMITED
                       UNITED STATES DISTRICT COURT
 8
                       NORTHERN DISTRICT OF CALIFORNIA
 9
                              SAN FRANCISCO DIVISION
10

11 WHATSAPP INC., a Delaware               Case No. 3:19-cv-07123-JSC
   corporation, and FACEBOOK, INC., a
12 Delaware corporation,                   DECLARATION OF SHALEV
                                           HULIO IN SUPPORT OF
13              Plaintiffs,                DEFENDANTS NSO GROUP
                                           TECHNOLOGIES LIMITED
14        v.                               AND Q CYBER TECHNOLOGIES
                                           LIMITED’S APPLICATION TO
15 NSO GROUP TECHNOLOGIES                  SET ASIDE DEFAULT AND TO
   LIMITED and Q CYBER                     ENLARGE TIME TO FILE
16 TECHNOLOGIES LIMITED,                   RESPONSIVE PLEADING TO
                                           COMPLAINT
17              Defendants.
                                           Date: April 16, 2020
18                                         Time: 9:00 a.m.
                                           Ctrm: E
19

20                                         Action Filed:     10/29/2019
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      DECLARATION OF SHALEV HULIO                            Case No. 3:19-cv-07123-JSC
      Case 4:19-cv-07123-PJH Document 24-3 Filed 03/06/20 Page 2 of 3




 1            I, Shalev Hulio declare as follows:
 2            1.    I am over the age of 18 and a citizen and resident of the State of Israel.
 3   This Declaration is made in support of the application of NSO Group Technologies
 4   Limited (“NSO Group”) and Q Cyber Technologies Limited to vacate a default
 5   entered by the United States District Court for the Northern District of California on
 6   March 2, 2020, and to expand the time for Defendants to file a responsive pleading
 7   to the Complaint. I have personal knowledge of the facts set forth below, except as
 8   otherwise stated.
 9            2.    I am the Chief Executive Officer of NSO Group and its shareholder, Q
10   Cyber. Both NSO Group and Q Cyber are Israeli corporations with a principal place
11   of business in the State of Israel.
12            3.    Q Cyber does not engage in any operational activity.
13            4.    NSO Group innovates cyber solutions that NSO Group does not itself
14   use. NSO Group’s only customers are sovereign states and the intelligence and law
15   enforcement agencies of sovereign states, which use NSO Group’s products in
16   furtherance of their national security interests and to conduct law enforcement
17   activities, such as combatting terrorism and investigating and prosecuting child
18   exploitation and other serious crimes. NSO Group’s only activities are to assist its
19   customers with implementing the system (at the customer’s facility) and to provide
20   basic technical support—activities in which NSO Group completely follows the
21   directions and specifications of its customers. None of NSO Group’s activities
22   involve any support to any operational activity by any NSO Group customer.
23   //
24   //
25   //
26   //
27   //
28   //

          DECLARATION OF SHALEV HULIO               1                  Case No. 3:19-cv-07123-JSC
      Case 4:19-cv-07123-PJH Document 24-3 Filed 03/06/20 Page 3 of 3




 1         5.     NSO Group products sold to foreign sovereigns cannot be used to
 2   conduct cybersurveillance within the United States.
 3         I declare under the penalty of perjury and the laws of the United States that
 4   the foregoing is true and correct this 6th day of March 2020, at Tel Aviv, Israel.
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                                   SHALEV HULIO

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       DECLARATION OF SHALEV HULIO             2                     Case No. 3:19-cv-07123-JSC
